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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                   *
vs.                                             *   Case No.: 22-15-APM
THOMAS E. CALDWELL                              *
       *       *        *    *       *      *       *      *      *       *         *

                                           ORDER

       UPON CONSIDERATION of defendant Caldwell’s Motion to Modify Conditions of

Release, it is hereby ORDERED that the motion is granted. The defendant’s curfew hours shall

be changed to 7 a.m. to 11:30 p.m. All other conditions shall remain the same.



           __________                               ________________________
           Date                                     Honorable Amit P. Mehta
                                                    U.S. District Court Judge
